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 1   QUINN EMANUEL URQUHART &                  Colin H. Murray (SBN 159142)
     SULLIVAN, LLP                              colin.murray@bakermckenzie.com
 2    Sean S. Pak (SBN 219032)                 BAKER & McKENZIE LLP
      seanpak@quinnemanuel.com                 Two Embarcadero Center, 11th Floor
 3    Iman Lordgooei (SBN 251320)              San Francisco, CA 94111-3802
      imanlordgooei@quinnemanuel.com           Telephone: +1 415 576 3000
 4    50 California Street, 22nd Floor         Facsimile: +1 415 576 3099
      San Francisco, CA 94111
 5    Telephone: (415) 875-6600                Jay F. Utley (Pro Hac Vice)
      Facsimile: (415) 875-6700                 jay.utley@bakermckenzie.com
 6                                             Bart Rankin (Pro Hac Vice)
     JWC LEGAL                                  bart.rankin@bakermckenzie.com
 7    Jodie W. Cheng (SBN 292330)              Mackenzie M. Martin (Pro Hac Vice)
      jwcheng@jwc-legal.com                     mackenzie.martin@bakermckenzie.com
 8    One Market Street                        John G. Flaim (Pro Hac Vice)
      Spear Tower, 36th Floor                   john.flaim@bakermckenzie.com
 9    San Francisco, CA 94105                  Chaoxuan Liu (Pro Hac Vice)
      Telephone: (415) 293-8308                 charles.liu@bakermckenzie.com
10                                             Mark Ratway (Pro Hac Vice)
     Attorneys for Plaintiffs                   mark.ratway@bakermckenzie.com
11   Proofpoint, Inc. and Cloudmark LLC        BAKER & McKENZIE LLP
                                               1900 North Pearl Street, Suite 1500
12                                             Dallas, Texas 75201
                                               Telephone: +1 214 978 3000
13                                             Facsimile: +1 214 978 3099
14                                             Attorneys for Defendants
                                               Vade Secure, Incorporated; Vade Secure
15                                             SASU; and Olivier Lemarié
16
                                UNITED STATES DISTRICT COURT
17
                               NORTHERN DISTRICT OF CALIFORNIA
18
                                    SAN FRANCISCO DIVISION
19

20 PROOFPOINT, INC.; CLOUDMARK LLC,
                                               CASE NO. 3:19-cv-4238-MMC-RMI
21               Plaintiffs,
22                                             STIPULATION AND [PROPOSED]
          v.                                   ORDER TO RESCHEDULE DISCOVERY
23                                             HEARING (DKT. 94)
24 VADE SECURE, INCORPORATED; VADE
   SECURE SASU; OLIVIER LEMARIÉ,
25

26               Defendants.

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 1          Pursuant to Civil L.R. 6-2, Plaintiffs Proofpoint, Inc. and Cloudmark LLC (collectively,

 2 “Proofpoint”) and Defendants Vade Secure, Incorporated, Vade Secure SASU, and Olivier Lemarié

 3 (collectively, “Vade”), by and through their undersigned counsel, hereby stipulate, subject to the

 4 approval of the Court, to reschedule the discovery hearing currently scheduled for January 24, 2020

 5 to January 31, 2020 or, if January 31, 2020 conflicts with the Court’s schedule, to January 27, 2020.

 6          WHEREAS, the Court has scheduled a Discovery Hearing on Dkts. 91, 92, and 93 for

 7 Friday, January 24, 2020 at 10:00 a.m. (Dkt. 94);

 8          WHEREAS, Plaintiffs’ lead counsel has a pre-existing conflict with the current Discovery

 9 Hearing date;

10          WHEREAS, the parties have met and conferred to determine alternative dates where counsel

11 for both parties are available for the Discovery Hearing, and thereby arrived at Friday, January 31,

12 and Monday, January 27, 2020;

13          WHEREAS, the scheduling order in this case would not be affected by the proposed

14 modification;

15          WHEREAS, prior scheduling modifications in this case include the Court’s orders granting

16 Defendants’ Administrative Motion to File Sur-Reply and continuing the hearing on Plaintiffs’

17 Motion for a Preliminary Injunction to February 7, 2020 (Dkt. 95), Defendants’ Motion to Enlarge

18 Time to Respond to Plaintiffs’ Motion for Preliminary Injunction (Dkt. 52), and Stipulation

19 extending Defendants’ time to file responsive pleadings to Plaintiffs’ Complaint and continuing the

20 Initial Case Management Conference (Dkt. 23).

21          NOW, THEREFORE, the parties respectfully request that the Court continue the Discovery

22 Hearing to January 31, 2020 at 10:00 a.m. or, alternatively, to January 27, 2020 at 10:00 a.m.

23          This stipulation is supported by the Declaration of Sean Pak submitted herewith. A

24 proposed order is submitted herewith.

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                                         2         Case No. 3:19-cv-4238-MMC-RMI
           STIPULATION AND [PROPOSED] ORDER TO RESCHEDULE DISCOVERY HEARING
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 2 DATED: January 15, 2020          Respectfully Submitted,
 3
                                     By /s/ Sean Pak
 4
                                        QUINN EMANUEL URQUHART &
 5                                      SULLIVAN, LLP
                                        Sean S. Pak (SBN 219032)
 6                                      seanpak@quinnemanuel.com
                                        Iman Lordgooei (SBN 251320)
 7                                      imanlordgooei@quinnemanuel.com
                                        50 California Street, 22nd Floor
 8                                      San Francisco, CA 94111
                                        Telephone: (415) 875-6600
 9                                      Facsimile: (415) 875-6700
10
                                        JWC LEGAL
11                                      Jodie W. Cheng (SBN 292330)
                                        jwcheng@jwc-legal.com
12                                      One Market Street
                                        Spear Tower, 36th Floor
13                                      San Francisco, CA 94105
                                        Telephone: (415) 293-8308
14
                                        Attorneys for Plaintiffs Proofpoint, Inc. and
15                                      Cloudmark LLC

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                                       3         Case No. 3:19-cv-4238-MMC-RMI
         STIPULATION AND [PROPOSED] ORDER TO RESCHEDULE DISCOVERY HEARING
     Case 3:19-cv-04238-MMC Document 105 Filed 01/22/20 Page 4 of 6




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 2                                   By /s/ Mackenzie Martin
                                        Colin H. Murray (SBN 159142)
 3                                        colin.murray@bakermckenzie.com
                                        BAKER & McKENZIE LLP
 4                                      Two Embarcadero Center, 11th Floor
                                        San Francisco, CA 94111-3802
 5                                      Telephone:+1 415 576 3000
                                        Facsimile: +1 415 576 3099
 6
                                        Danielle L. Benecke (SBN 314896)
 7                                       danielle.benecke@bakermckenzie.com
                                        BAKER & McKENZIE LLP
 8                                      600 Hansen Way
                                        Palo Alto, CA 94304
 9                                      Telephone:+1 650 856 2400
                                        Facsimile: +1 650 856 9299
10
                                        Jay F. Utley (Admitted Pro Hac Vice)
11                                       jay.utley@bakermckenzie.com
                                        Bart Rankin (Admitted Pro Hac Vice)
12                                       bart.rankin@bakermckenzie.com
                                        Mackenzie M. Martin (Admitted Pro Hac Vice)
13                                       mackenzie.martin@bakermckenzie.com
                                        John G. Flaim (Admitted Pro Hac Vice)
14                                       john.flaim@bakermckenzie.com
                                        Chaoxuan Liu (Admitted Pro Hac Vice)
15                                       charles.liu@bakermckenzie.com
                                        Mark Ratway (Admitted Pro Hac Vice)
16                                       mark.ratway@bakermckenzie.com
                                        BAKER & McKENZIE LLP
17                                      1900 North Pearl Street, Suite 1500
                                        Dallas, Texas 75201
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19

20                                      Attorneys for Defendants
                                        Vade Secure, Incorporated; Vade Secure SASU; and
21                                      Olivier Lemarié

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                                      4         Case No. 3:19-cv-4238-MMC-RMI
        STIPULATION AND [PROPOSED] ORDER TO RESCHEDULE DISCOVERY HEARING
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 1                              ATTESTATION OF CONCURRENCE
 2         I, Sean Pak, am the ECF user whose ID and password are being used to file this

 3 STIPULATION AND [PROPOSED] ORDER TO RESCHEDULE DISCOVERY HEARING

 4 (DKT. 94). Pursuant to Civil L.R. 5-1(i)(3), I hereby attest that each of the signatories identified

 5 above has concurred in the filing of this document.

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 7   Dated: January 15, 2020                          /s/ Sean Pak
                                                     Sean Pak
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                                         5         Case No. 3:19-cv-4238-MMC-RMI
           STIPULATION AND [PROPOSED] ORDER TO RESCHEDULE DISCOVERY HEARING
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 1         PURSUANT TO STIPULATION, IT IS SO ORDERED that the Discovery Hearing in this

 2 action is reset for Friday, January 31, 2020 at 10:00 a.m.

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 4 Dated: January 22, 2020

 5                                               Hon. Robert M. Illman
                                                 United States Magistrate Judge
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                                         6         Case No. 3:19-cv-4238-MMC-RMI
           STIPULATION AND [PROPOSED] ORDER TO RESCHEDULE DISCOVERY HEARING
